       Case 3:15-cv-03747-JD Document 583 Filed 08/01/22 Page 1 of 1




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT

 7                            NORTHERN DISTRICT OF CALIFORNIA

 8                                  SAN FRANCISCO DIVISION

 9

10 In re FACEBOOK BIOMETRIC                        )   Master File No.
   INFORMATION PRIVACY LITIGATION                  )   3:15-cv-03747-JD
11                                                 )
                                                   )   CLASS ACTION
12 This Document Relates To:                       )
                                                   )   [PROPOSED] ORDER GRANTING
13         ALL ACTIONS.                            )   PLAINTIFFS’ ADMINISTRATIVE
                                                   )   MOTION FOR ORDER RELEASING
14                                                 )   REMAINDER OF ATTORNEYS’ FEES
                                                   )   AWARDED TO CLASS COUNSEL
15                                                 )

16

17

18         Plaintiffs’ administrative motion for an order releasing the remainder of attorneys’ fees

19 awarded to class counsel, Dkt. No. 579, is granted. Class counsel may collect from the Settlement

20 Fund the remainder of the Court-awarded attorneys’ fees in the total amount of $14,625,000.

21         IT IS SO ORDERED.

22

23 DATED: August 1, 2022

24                                                      ___________________________________
                                                        JAMES DONATO
25
                                                        UNITED STATES DISTRICT JUDGE
26
27

28
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMIN. MOT. FOR ORDER RELEASING
     REMAINDER OF ATTORNEYS’ FEES AWARDED TO CLASS COUNSEL - 3:15-cv-03747-JD
